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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF FLORIDA
                      WEST PALM BEACH DIVISION



  COMMUNICATIONS WORKERS
  OF AMERICA, AFL-CIO, CLC,
  DYLAN R. OWENS, and MARK A.
  WARME,
               Plaintiffs,


  v.                                                  CASE No.
  DONALD RUBOTTOM, in his official
  Capacity as Chair of the Florida Public
  Employees Relations Commission, JEFF
  AARON, in his official capacity as
  commissioner of the Florida Public
  Employees Relations Commission,
  MICHAEL SASSO, in his official capacity
  as commissioner of the Florida Public
  Employees Relations Commission, and
  PALM BEACH COUNTY, FL,

                     Defendants.



       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


        Plaintiffs COMMUNICATIONS WORKERS OF AMERICA, AFL-CIO,

  CLC (hereinafter CWA), DYLAN R. OWENS and MARK A. WARME complain

  against the Defendants as follows:
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                                I.    INTRODUCTION:

        1.     The United States Supreme Court has long recognized that membership

  and participation in the activities of a labor organization are protected under the Frist

  Amendment. The individual plaintiffs and their Unions challenge provisions of

  Florida Senate Bill 256 (hereinafter “SB 256”) that (i) unconstitutionally burden

  their First Amendment rights of free speech and association, (ii) unconstitutionally

  discriminate against them in violation of the constitution’s guarantee of Equal

  Protection, (iii) deprive them of their Due Process rights to be free from arbitrary

  governmental action and/or (iv) impair existing contractual obligations in violation

  of Article I, Section 10 of the United States Constitution.

        2.     SB 256 imposes heavy and unconstitutional burdens on labor unions

  and their members subject to its provisions. Section 1 amends Fla. Stat. § 447.301

  to impose a requirement as a condition of membership that “a public employee who

  desires to be a member of an employee organization must sign and date a

  membership form, as prescribed by the commission with the bargaining agent.”

  Section 1 impermissibly dictates the conditions of membership in an organization

  protected under the First Amendment.

        3.     Section 1 further requires the mandatory membership form to contain a

  “right to work” statement in 14-point type that not only mischaracterizes a public

  employee’s rights under Florida law but also compels covered labor organizations
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  to include a statement in a membership form that the Unions and their members

  disagree with as a political and policy matter.

        4.     Section 3 of SB 256 amends Fla. Stat. § 447.303 to prohibit members

  of covered labor organization from having voluntary membership dues deducted

  from their salaries even though Florida law allows voluntary payroll deductions for

  exempt labor organizations and other charitable organizations.         Though the

  constitution does not mandate that a public employer offer this benefit to a labor

  organization, it prohibits public employer’s from denying a benefit simply because

  it disfavors the organization’s advocacy and/or seeks to discourage union

  membership. Section 3 was clearly aimed at denying covered labor organization’s a

  benefit because the Florida legislature and the Governor harbored animus against

  the covered labor organizations and/or sought to discourage union membership. The

  senator who filed the bill that became SB 256 pejoratively referred to union leaders

  as “union bosses”, and had previously sponsored a bill to outlaw the Democratic

  party which strongly supports the labor movement.

        5.     Section 3 of SB 256 further impairs contracts that public employer

  defendant entered into with CWA. These contracts which have not expired provide

  for voluntary payroll dues deduction. Likewise, SB 256 impairs the voluntary

  agreements that CWA entered into with its members for purpose of financially

  supporting the work of these labor organizations.
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        6.        Section 4 of SB 256 amends Fla. Stat. § 447.305 to impose onerous

  annual disclosure requirements on covered labor organizations which must

  accompany an annual application for renewal of registration. Section 4 punishes

  members and their unions with immediate decertification if a union cannot fulfill

  requirements imposed on the annual registration audited financial statements, the

  number of dues paying bargaining unit employees and the number that are not paying

  dues. Section 4 further requires a union to undergo an election to determine whether

  it can continue to act as the certified bargaining representative if its mandatory

  disclosures show that fewer than 60 percent of the employees it represents pay dues

  to the union.

        7.        Section 4 also requires a union to provide a public employer with a copy

  of the application for renewal and grants a public employer or bargaining unit

  employee standing to challenge a union’s disclosure if it simply believes that the

  application is inaccurate.

        8.        The amendments to Florida’s Public Employees Relations Act enacted

  by SB 256 cannot survive constitutional scrutiny. These amendments were adopted

  to burden and discourage membership in disfavored unions. There is no compelling

  governmental interest in dictating the terms of membership in an organization that

  enjoys First Amendment protection. Nor is there any compelling governmental

  interest in denying disfavored labor unions a benefit granted to exempt labor union
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  and other favored charitable organizations. The imposition of the new disclosure

  requirements that must accompany the annual application for registration, granting

  public employers standing to challenge an application and subjecting unions to

  decertification elections without a showing of a loss of majority support are

  provisions, among others, clearly designed to cripple disfavored labor unions

  because of their advocacy for causes that a majority of the Florida Legislature and

  the Governor’s office oppose.

                          II.    JURISDICTION AND VENUE

         9.     Plaintiffs bring this action pursuant to 42 U.S.C. §§ 1983 and 1988.

  Accordingly, this court has subject matter jurisdiction under 28 U.S.C. § 1331 and

  28 U.S.C. § 1342(a)(3).

         10.    Venue in the Southern District of Florida is appropriate because all the

  defendants conduct business in this judicial district and all of the individual Plaintiffs

  resided in this judicial district.




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                                   III.   PARTIES

        11.    Plaintiff Communications Workers of America, AFL-CIO, CLC is a

  labor organization that represents both public and private sector employees. CWA

  is a voluntary membership organization that, in addition to representing employees

  for purposes of collective bargaining, also engages in advocacy for public policies

  and legislation to protect the interests of workers and their families. CWA opposes

  right to work legislation. Through its affiliated Local 3181, CWA has entered into

  a collective bargaining agreement with the Defendant Palm Beach County.

        12.    Plaintiff Dylan Owens is an employee of Palm Beach County and

  resided in Palm Beach County. He is a member of a bargaining unit represented by

  CWA and Local 3181. Mr. Owens is also a member of CWA and Local 3181.

  Plaintiff Owens opposes right to work legislation.

        13.    Plaintiff Mark Warme is an employee of Palm Beach County and

  resided in Palm Beach County. He is member of a bargaining unit represented by

  CWA and Local 3181. He is a member of CWA and Local 3181. Plaintiff Warme

  opposes right to work legislation.

        14.    Defendant Donald Rubottom serves as the chair and chief executive and

  administrative office of PERC, which has the authority to implement and enforce

  the PERA provisions challenged in this action. Chair Rubottom is sued in his official

  capacity.

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        15.    Defendant Jeff Aaron serves as a commissioner of PERC, which has

  the authority to implement and enforce the PERA provisions challenged in this

  action. Commissioner Aaron is sued in his official capacity.

        16.    Defendant Michael Sasso serves as a commissioner of PERC, which

  has the authority to implement and enforce the PERA provisions challenged in this

  action. Commissioner Sasso is sued in his official capacity.

        17.    The Defendant Palm Beach County is a governmental entity established

  by Florida’s legislature in 1909. The County is a party to a collective bargaining

  agreement with CWA.

                         IV.   FACTUAL ALLEGATIONS

        A.     Collective Bargaining Relationship Between Union Plaintiffs and
               Defendant Public Employers.
        18.    CWA and Palm Beach County (hereinafter the “County”) are parties

  to an existing collective bargaining agreement that covers a non-supervisory unit of

  employees (hereinafter “Bargaining Unit”). The CBA covering the Bargaining Unit

  expires on September 30, 2024.

        20.    CWA has represented the Bargaining Unit since May 12, 1981. This

  unit has approximately twelve hundred (1,200) bargaining unit members. Plaintiffs

  Owens and Warme are members of the Bargaining Unit.



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        21.    Article 2.1 of the CBA provides in relevant part that “employees in the

  bargaining unit shall have the right to form, join and participate in, or refrain from

  forming, joining or participating in the Union. Neither the County nor the Union

  will discriminate against any employee with regard thereto.”

        22.    Article 3.1 of CBA provides that the County will make payroll

  deductions of Union dues when authorized by the employee on a form certified to

  the County Secretary-Treasurer of the Union and to pay over to the Secretary-

  Treasurer of the Union any amounts so deducted.

        23.    Article 3.2 of the CBA provides for employee authorization of payroll

  deductions of union dues. It provides in relevant part that an employee may submit

  a written request to revoke a dues deduction authorization which shall be effective

  within thirty (30) days of receipt by the County Payroll Supervisor and the Local

  Union President.

        24.    The CBA also incorporates the dues authorization and union

  membership form that bargaining unit employees desiring union membership and

  the deduction of dues from their paychecks must complete and returned to the Union.

  The membership application provides that an employee requesting and accepting

  membership in the Communication Workers of America “accept[s] all rights,

  privileges, benefits and responsibility outlined in the constitution and by-laws of the

  union.” (brackets added)

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        25.    Article 17.3 of the CBA provides that the agreement may be amended

  “by mutual agreement of the parties but any amendment must be in writing and

  signed by duly authorized representatives of the parties before it will be effective.”

        26.     CWA has not consented to an amendment of the CBA that allows the

  County to stop dues deduction and/or allows the County to accept a membership or

  dues authorization form other than the form incorporated into the CBA.

        27.    As a result of the enactment of SB 256, the County has stopped

  deducting and remitting Union dues.

        28.    As a result of the enactment of SB 256, the County has stopped

  recognizing the membership application form incorporated into the CBA.

        B.     Individual Plaintiffs’ Membership in CWA.

        29.    Prior to enactment of SB 256, Plaintiff Dylan Owens voluntarily joined

  CWA and Local 3181. He signed a membership authorization card that the CWA

  and its membership had approved. Owens voluntarily agreed to the terms set forth

  in the membership authorization card.      The membership card he signed did not

  include any reference to Florida’s “right to work” statute.

        30.    Plaintiff Owens voluntarily joined CWA because he supports CWA’s

  agenda and believes in collective bargaining as the best way for employees to

  improve their working conditions. Owens also believes that all employees in a

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  bargaining unit that benefit from collective bargaining should financially support the

  Union and its members.

         31.   At the time he joined CWA and Local 3181, Owens understood that

  membership in the Union was not a condition of employment and that he did not

  have to join or pay dues to remain employed.

         32.   Prior to enactment of SB 256, Plaintiff Warme joined CWA because

  he supports CWA’s agenda and believes in collective bargaining as the best way for

  employees to improve their working conditions. Warme also believes that all

  employees in a bargaining unit that benefit from collective bargaining should

  financially support the union and its members.

         33.   At the time he joined CWA and Local 3181, Warme understood that

  membership in the Union was not a condition of employment and that he did not

  have to join or pay dues to remain employed.

         C.    SB 256’s Amendments to Florida’s Public Employees Relations

  Act.

         34.   Since 1968, Article I, § 6 of the Florida Constitution guarantees public

  employees the right “by and through a labor organization, to bargain collectively”

  with the proviso that “public employees shall not have the right to strike.” The

  Florida Legislature enacted that Public Employees Relations Act (PERA) to


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  implement Article I, § 6. PERA expressly protects that rights of public employees

  to form, join, participate in and be represented by a labor organization of their

  choosing. Specifically, PERA requires certification of a labor organization as the

  bargaining representative of an appropriate bargaining unit if fifty-percent (50%)

  plus one of the employees in the unit vote in favor of union representation.

        35.    SB 256’s amendments to PERA cover labor organizations representing

  public employees and teachers but exempts public sector unions representing

  bargaining units with law enforcement officers, correctional officers, correctional

  probation officers and firefighters, as defined in Fla. Stat. §§ 943.10 and 633.102.

  SB 256 thus creates two classes of unions and public employees, a favored class of

  unions and employees working in law enforcement and firefighters and a disfavored

  class of all other public sector employees.

        36.    The disfavored unions and their members, including the individual

  plaintiffs, are subject to three onerous restrictions and implementing regulations: (1)

  a requirement that the unions use and members execute a membership form as a

  condition of membership in the union; (2) a ban on the ability of unions and their

  members to use payroll deductions and (3) punitive disclosure and decertification

  rules that discourage union membership and favor public employers who oppose

  union representation.

        1.     Section 1 of SB 256 imposes a membership form as condition
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               of joining of a covered public sector union and modifies existing
               membership agreements between CWA and its members

        37.    Prior to SB 256 enactment, Fla. Stat. § 447.301 of PERA provided that

  “public employees shall have the right to form, join, participate in or to refrain from

  forming, joining, or participating in any employee organization of their own.” There

  were no conditions imposed on the terms of such membership. Public employees

  and their public sector labor unions were not required to use any specific

  membership authorization form and were allowed to use their own membership

  authorization forms. There was no limitation on public employees desiring to be

  members of a public sector union.

        38.    SB 256 eliminated the freedom of public employees and their unions to

  determine the terms of their association. Instead, Section 1 of the SB 256 amended

  § 447.301 to add mandatory terms to a covered public sector employee’s

  membership in a union. § 447.301 (b)(1) provides that “beginning July 1, 2023, a

  public employee who desires to be a member of an employee organization must

  sign and date a membership authorization form, as prescribed by the commission,

  with the bargaining agent.” Fla Stat. § 447.301(b)(1) (emphasis added)

        39.    Section 447.301(b)(2) requires that the state-mandated membership

  authorization form include “the name of the bargaining agent, the name of the

  employee, the class code and class title of the employee, the name of the public

  employer and employing agency, if applicable, the amount of the initiation fee and
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  other monthly dues which the member must pay, and the name and total amount of

  salary, allowances, other direct or indirect disbursements, including reimbursement,

  paid to each of the five highest compensated officers and employees of the employee

  organization disclosed under § 447.305(2)(c).”

        40.    Section 447.301(b)(3) provides that the membership form must contain

  the following statement in 14-point type:

        “The State of Florida is a right-to-work- state. Membership or non-
        membership in a labor union is not required as a condition of
        employment and union membership and payment of union dues and
        assessments are voluntary. Each person has the right to join and pay
        dues to a labor union or to refrain from joining and paying dues to a
        labor union. No employee may be discriminated against in any manner
        for joining and financially supporting a labor union or for refusing to
        join or financially support a labor union.

        As     discussed   below,   PERC’s       proposed   regulations   implementing

  §447.301(b)(1) subject a labor union that fails to secure from all current and future

  members the state mandated membership authorization form (which must include

  the “right to work” statement) to loss of certification. The loss of certification also

  impacts public employees who lose the benefit of collectively bargaining with their

  employers.

        41.    Employees, including the individual Plaintiffs, who desire to be a

  member of a union or to remain a union member must submit the state-mandated

  membership form as prescribed by PERC regulations.



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        42.    On or about June 5 and 8, 2023, PERC issued proposed regulations

  implementing SB 256 and/or drafts of the “Preliminary Text” of proposals for

  implementing SB 256. PERC’s proposed rules codifying Section 1 will be codified

  at 60CC-1.102 thru 1.104.

        43.    The proposed regulations require that all members (both new and

  current) must submit a membership authorization form approved by PERC. The

  membership forms that CWA used prior to enactment of SB 256 are rendered void.

  Employees desiring to join or remain a member of CWA must execute the state

  mandated and officially approved form by the “first renewal of registration occurring

  on or after October 1, 2023.” [See, Rule 60CC-1.103(2)]

        44.    PERC will not accept a membership authorization form that does not

  conform to PERC regulations. [See, Rule 60CC-1.101(2)] Thus, the form that is

  incorporated into the CBA will not be accepted because it does not include the

  statutory language outlined above.

        45.    PERC’s proposed regulations implementing Section 1 also indicate that

  a union’s failure to collect and maintain the state mandated membership form for all

  its members will constitute an unfair labor practice and subject the Union to an

  enforcement action.

        46.    Plaintiff Owens refuses to the sign the mandated membership

  authorization form as a condition of remaining a member of CWA and Local 3181.


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  He objects to being compelled to sign a form that in his view seeks to undermine his

  labor union and that includes a statement of Florida’s “right to work” law. Owens

  objects to the term “right to work” because he does not believe that Florida statute

  has anything to do with the “right to work”, but instead is designed to injure labor

  unions. Owen however desires to remain a member of the union and to have CWA

  represent him.

        47.    Plaintiff Warme refuses to the sign the mandated membership

  authorization form as a condition of remaining a member of CWA and Local 3181.

  He objects to being compelled to sign a form that in his view seeks to undermine his

  labor union and that includes a statement of Florida’s “right to work” law. Warme

  objects to the term “right to work” because he does not believe that Florida statute

  has anything to do with the “right to work”, but instead is designed to injure labor

  unions. Warme however desires to remain a member of the union and to have CWA

  represent him.

         48.   CWA objects to the use of the term “right to work” on its membership

  authorization form. The term does not appear in CWA’s current membership

  authorization form and it is not a term it would use unless compelled to do so. CWA

  opposes “right to work” legislation as antithetical to its mission as a labor

  organization.




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        49.    The term “right to work” is a controversial ideological slogan of

  persons, businesses, politicians and government official opposed to the collective

  bargaining and to the labor movement. It is used by union opponents as a short-

  hand for “anti-union” or “union free” environment.

        50.   To implement the amended Fla. Stat. 447.301, PERC has promulgated

  a membership authorization form. The membership form requires disclosure of all

  compensation direct or indirect of the five highest compensated individuals without

  any indication of the individual’s role and responsibilities in the union. The only

  purpose for such selective disclosure on the membership form is to discourage

  employees from joining the union.

        51.   Public sector unions representing law enforcement employees and

  firefighters are not required to use the state mandated membership forms. These

  exempted unions may continue to use the membership form that their union and

  members approved.

        52.   Employees working in law enforcement or in fire departments and who

  desire to join a public sector union are not required to sign the state-mandated

  membership authorization form. Public sector unions representing law enforcement

  and/or fire department employees are not subject to enforcement actions for failure

  to secure and maintain the state-mandated membership form from all members.




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        2.     Section 3 of SB 256 prohibits public employers from allowing
               employees to authorize payroll deduction of union dues and
               forwarding such dues to their unions.
        53.    Section 3 of SB 256 amended Fla. Stat. § 447.303 to provide that “an

  employee organization that has been certified as a bargaining agent may not have its

  dues and uniform assessment deducted and collected by the employer from the

  salaries of those employees in the unit.”

        54.    Section 3 of SB 256 amended Fla Stat. § 447.303 to provide that “an

  employee organization that has been certified as a bargaining agent to represent law

  enforcement officers, correctional officers or correctional probation officers as those

  terms are defined in § 943.10(1), (2) or (3), respectively, or firefighters as defined in

  § 633.102 had the right to have its dues and uniform assessments deducted and

  collected by the employer from the salaries or those employees who authorize the

  deduction and collection of said dues and uniform assessments.”

        55.    Fla Stat. § 112.171(1) provides in relevant part that

        The counties, municipalities, and special districts of the state and the
        departments, agencies, bureaus, commissions, and officers thereof are
        authorized and permitted in their sole discretion to make deductions
        from the salary or wage of any employee or employees in such amount
        as shall be authorized and requested by such employee or employees
        and for such purpose as shall be authorized and requested by such
        employee or employees and shall pay such sums so deducted as directed
        by such employee or employees.

        56.    Under § 112.171(1) public employees are currently allowed to request

  voluntary payroll deductions for personal, charitable and/or political action
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  committees. Upon information and belief, public employers have agreed to make

  payroll deductions and remit the sums deducted to charitable, political action

  committees and/or for other personal reasons.

        57.    Section 3 of SB 256 singles out union dues and precludes public

  employers from agreeing to make and remit such dues as directed by employees.

        58.    The sponsor of SB 256 State Senator Ingoglia stated his ideological

  opposition to payroll deductions of union dues when the bill was under

  consideration. Senator Ingoglia stated in a March 2023 committee hearing on SB

  256 that “We don't think that government should be collecting the dues and

  dispersing the dues.”

        59.    In May 2023, Governor DeSantis expressed a similar ideological

  opposition to remitting union dues: “That’s not appropriate to have automatic

  deductions.” “If you want to do it, you can write a check and hand it to them. What

  this does is relieve the pressure off the individual teacher or employee.”

        60.    The County, exercising discretion granted under §112.171, agreed to

  make payroll deduction of dues available to employees covered under both the CBA

  and to remit such dues to CWA.

        61.    As a result of the amendment to Fla. Stat. §447.303, Palm Beach

  County has discontinued payroll deduction of union dues. The County does continue




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  employee payroll deduction for other non-union organizations and/or considers

  employee requests for payroll deduction.

        62.    Plaintiff Owens desires to continue payroll deduction of union dues.

        63.    Plaintiff Warme desires to continue payroll deduction of union dues.

        64.    SB 256 compels the County to discriminate against Owens and Warme

  (along with the other members of the bargaining unit) on account of their Union

  activity by depriving them of the right to support their Union through dues

  deduction.

        3.     Section 4 of the SB 256 imposes costly, excessive and burdensome
               rules and regulations on CWA and its locals.

        65.    Section 4 of SB 256 amended Fla. Stat. § 447.305 to provide, in relevant

  part, that effective October 1, 2023, CWA and its locals must file an annual “audited

  financial statement, certified by an independent certified public accountant licensed

  under chapter 473 . . .”

        66.    Section 4 of SB 256 amended Fla. Stat. § 447.305 to add the following

  reporting requirements to the application for renewal of registration:

        (a)    the number of employees in the bargaining unit who are eligible for

  representation by the employee organization;

        (b)    the number of employees in the bargaining unit who have submitted

  signed membership authorization forms without a subsequent revocation of such

  membership;
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         (c)    the number of employees in the bargaining unit who paid dues to the

  employee organization.

         (d)    the number of employees in the bargaining unit who did not pay dues

  to the employee organization;

         (e)    documentation provide by an independent certified public accountant

  retained by the employee organization which verifies the information regarding the

  number of bargaining unit employee, signed membership forms and dues paying

  members.

         67.    The costs of obtaining a “audited financial statement” by a certified

  public account are substantial and in some cases a crippling financial burden. As

  State Senator Gruters (a certified public account) noted during debate on SB 256,

  “auditing a financial report is not simple and will prove extremely costly for small

  unions.”1 Senator Gruters concluded that in his opinion as a certified public

  accountant the only intent of such a provision is “too kill unions in Florida.” Id.

         68.    The provision requiring that a certified public accountant verify

  bargaining unit numbers and the number of dues paying members is not the type of

  work that certified public accountants perform. Nor is the type of information that

  requires the expertise of a certified public accountant. The only purpose for this


  1
   See, https://www.tallahassee.com/story/news/politics/2023/03/29/florida-gop-led-senate-puts-
  more-demands-on-unions-that-opposed-desantis/70059678007/.


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  requirement is too increase the cost associated with filing an annual application for

  renewal of registration.

        69.       CWA has not been able to identify a certified public account with

  experience “verifying” the numbers and information required under § 447.303(3)(a)-

  (d) or a willingness to undertake such a task.

        70.    Section 4 of SB 256 further amended Fla. Stat. § 447.305 to require the

  union to provide a copy of the application for renewal of registration to the public

  employer and allows the public employer or a bargaining unit employee to challenge

  the application for renewal of registration is either “believes that the application is

  inaccurate.” Such challenge triggers a mandatory review by PERC and if PERC

  finds that the application is inaccurate or does not comply with § 447.305 (3)-(6),

  the commission shall revoke the registration and certification of the employee

  organization.

        71.    Section 4 of SB 256 amended Fla. Stat. § 447.305 to add subparagraph

  (6) that provides in relevant part that “an employee organization that had less than

  60 percent of the employees eligible for representation in the bargaining unit pay

  dues [hereinafter the “60 percent dues paying” provision] during its last registration

  period must petition the commission under § 447.307(2) and (3) for recertification

  as the exclusive representative of all employees in the bargaining unit within 1 month

  after the date on which the employee organization applies for renewal of registration.


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  . . The certification of an employee organization that does not comply with this

  section is revoked.”

        72.    A petition for recertification under § 447.307(2) and (3) requires the

  union and the public employer to bear the costs of the election or a rerun if necessary.

  Under §447.307(3)(b), PERC shall certify the employee organization as the

  exclusive bargaining representative if a majority of the employees voting in the

  election selected the union as their representative. Thus, a simple majority recertifies

  the union without regard to whether they are dues paying members or not. Yet to

  retain certification, Section 4 of SB 256 requires a showing that 60 percent of the

  bargaining unit employees are paying dues. This irrational incongruity not only

  violates the state’s own “right to work” policy (i.e. an employee is not required to

  pay dues in order to benefit from collective bargaining) but it demonstrates that the

  intent is to disfavor and injure unions.

        73.    Under the “60 percent dues paying” provision a union may not obtain

  recertification through voluntary recognition. Instead, the provision mandates an

  election as the only method of retaining certification even though a public employer

  may voluntarily recognize a new union pursuant to

  § 447.307(1) without an election upon satisfaction that the union has majority

  support.




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        74.    The “60 percent dues paying” provision will force unions into a

  repetitive cycle of elections designed to destabilize the union and public employer

  relationship and increase the costs of retaining certification both on the union and

  the public employer.

        75.    Under PERC’s proposed rules implementing the amended Fla. Stat.

  § 447.303(3)-(6), the “60 percent dues paying” requirement is only satisfied if the

  employee has signed and delivered to the union PERC Form 2023-1.101, which

  contains the “right to work” phrase        CWA and the individual plaintiffs find

  objectionable compelled speech.

        76.    Section 4 of SB 256 exempts unions representing law enforcement

  officers, correctional officers or correctional probation officers and firefighters from

  the provisions added to the application for renewal of registration (including the

  verification of application information by a certified public accountant) and from the

  “60 percent dues paying” provision. There is no rational basis for exempting these

  unions from the “60 percent dues paying” provision or any other added requirements

  to the application for renewal of registration and yet applying the requirements to all

  other unions.

        D.     Plaintiffs are experiencing and will experience future harm as a
               result of SB 256.

        77.    Section 1 of SB 256 and the PERC Form 2023-1.101 that the impacted

  unions and members must execute, collect and maintain burden the individual
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  Plaintiffs and CWA’s First Amendment “free speech” rights because it requires

  them to assent to the “right to work” term that they find objectionable. Without

  executing this mandated form, a public employee will not be considered a member

  of the union. Likewise, if CWA refuses to use the form because it objects to the

  “right to work” term, it will be subject to sanctions including loss of representative

  status and members.

        78.    Because the “60 percent dues paying” requirement is tied to use of the

  PERC Form 2023-1.101, CWA (if it desires to retain its certification status) will be

  compelled to use and complete the form to solicit current and prospective members.

  It is unlikely that current and prospective members will know how to obtain the Form

  2023-1.101 and/or be able to complete the “Employee Organization Information”

  section which requires CWA’s “PERC registration number,”, the “date of last order

  granting registration” and the “salaries, allowances, and other direct and indirect

  disbursements” paid to the five most highly compensated individuals. Thus, in order

  to retain its status as the employee’s collective bargaining representative, CWA is

  compelled as a practical matter to assist current and prospective members in

  completing the membership authorization form; a form that contains the slogan

  “right to work” which CWA considers antithetical to its mission.

        79.    Likewise, the Individual Plaintiffs who are current members of CWA

  will be compelled, as a condition of remaining a member, to personally sign the


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  membership authorization form which includes the mandatory notice that the “State

  of Florida is a right-to work state.” The Individual Plaintiffs object to inclusion of

  the “right to work” slogan as part of their application for membership in CWA.

        80.      The state-mandated membership authorization form also requires

  disclosure of information that employers frequently used in anti-union campaigns to

  discourage support for a union. Employers in anti-union campaigns will use

  information about salaries and compensation of union officers to communicate the

  anti-union message that the union only wants dues to pay for the salaries of union

  employees.

        81.      Form 2023-1.101’s juxtaposition of membership dues with the salaries

  and compensation of union employees is a well-worn tactic of union busting

  consultants and anti-union advocacy groups. The State has commandeered the

  membership application process to communicate this anti-union message. No other

  private association and its current or prospective members are compelled to use a

  state-mandated membership form designed to discourage membership in the

  association.

        82.      Compelling unions and their members to participate in such anti-union

  propaganda cannot be remedied with an award of monetary damages.

        83.      Section 1 of SB 256 also burdens First Amendment associational rights

  because it mandates the use of the state-created application form as a condition of


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  joining a union and remaining a union member. Section 1 effectively nullifies the

  individual Plaintiff’s membership in CWA and only permits membership in CWA

  if the individual Plaintiffs and any new employee signs the state mandated

  membership authorization form.

        84.    No other private association that admits members in the State of Florida

  is subjected to a requirement that (1) all existing members sign a state mandated

  membership form to remain as members and (2) that all new members sign a state

  mandated membership authorization form. No other association that the United

  States Supreme Court has acknowledged as a First Amendment protected association

  (i.e., civil rights associations or religious organizations) has experienced an intrusion

  such as the intrusion expressed in Section 1 that the State of Florida adopted with

  respect to unions.

        85.    In addition to the expressive harm related to use of a “membership”

  form that contains a statement antithetical to the union’s mission, the threatened loss

  of representative status is a non-monetary injury. An award of monetary damages

  cannot compensate the Union or the individual Plaintiffs for the harm flowing from

  the lack of representation.

         86.   Section 3 of SB 256’s discriminatory prohibition of the collection of

  voluntary membership dues through payroll deduction will injure CWA financially




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  and impair its contracts with the Defendant employer. The loss of payroll deduction

  will and has imposed transaction costs on CWA that are difficult to monetize.

        87.    Section 3 of SB 256 also discriminatorily deprives the Plaintiffs of a

  benefit that the State of Florida provides to other non-union organizations. Unlike

  payroll deductions for other charitable organizations or political action committees,

  the Plaintiffs are now forced to make alternative arrangements (with its attendant

  transaction costs) to pay union membership dues.

        88.    Section 3 of SB 256 targets CWA and the Plaintiffs because of the

  nature of their association. As public statements by the Governor and the Senate

  sponsor of SB 256 demonstrate, the Section 3 deprives CWA and the Plaintiffs of a

  governmental benefit available to other non-union organizations on account of the

  nature of CWA and Plaintiffs’ association and protected advocacy.

        89.    Section 4 of SB 256 imposes burdensome requirements related to

  audited financial disclosures and verification of membership numbers by a certified

  public account.

        90.    Section 4 of SB 256’s requirement of “audited” financial statements

  prepared by a certified public accountant imposes substantial costs on CWA. .

  These are costs that once paid cannot be recovered. No other organization is required

  to obtain and pay for a certified public account to audit the voluntary dues collected

  from members and the expenditures of such organization.


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        91.    Section 4 of SB 256 also requires a certified public accountant to

  “verify” membership information. SB 256 does not set standards for “verification”

  of membership information. Without such guidance, securing a certified public

  accountant to verify membership information will prove difficult and costly.

        92.    Failure to comply with the requirements of Section 4 of SB 256 will

  result in the revocation of CWA’s registration and certification. Fla. Stat. 447.305(7)

  (“If the commission finds that the application is inaccurate or does not comply with

  this section, the commission shall revoke the registration and certification of the

  employee organization.”)

        93.    The threatened revocation of certification for non-compliance with

  Section 4’s unlawful requirements will impair the current collective bargaining

  agreements between CWA and the Defendant employers.

        94.    The “60 percent dues paying” requirement to avoid a recertification

  election, the requirement of obtaining, distributing and filing financial reports

  audited by an independent certified public accountant and/or the requirement of that

  an independent certified public accountant “verify” certain membership information

  are not reasonable and necessary to serve a legitimate public interest.

        95.    By adding new and costly conditions precedent to the enforceability of

  existing CBAs during their unexpired terms, Section 4’s discriminatory disclosure

  and decertification rules substantially impair those CBAs.


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                                       COUNT I

                       (Section 1983 – Freedom of Association)

        96.    The Plaintiffs incorporate and restate paragraphs 38 to 52.

        97.    In Roberts v. U.S. Jaycees, the Supreme Court explained that the

  freedom of expressive association is instrumental to, and protective of, other

  constitutional rights: "[T]he Court has recognized a right to associate for the purpose

  of engaging in those activities protected by the First Amendment." 468 U.S. 609,

  618, 104 S. Ct. 3244, 82 L. Ed. 2d 462 (1984). "The Constitution guarantees freedom

  of association of this kind," the Court continued, "as an indispensable means of

  preserving other individual liberties." Id. The Eleventh Circuit has specifically held

  that "[t]his right to freedom of association extends to public employees being able

  to engage in associative activity without retaliation." Hatcher v. Bd. of Pub. Educ.

  & Orphanage for Bibb Cnty., 809 F.2d 1546, 1558 (11th Cir. 1987).

        98.    In NAACP v. Ala. ex rel. Patterson, 357 U.S. 449, 460, 78 S. Ct. 1163,

  1171 (1958), the Court held that “It is beyond debate that freedom to engage in

  association for the advancement of beliefs and ideas is an inseparable aspect of the

  "liberty" assured by the Due Process Clause of the Fourteenth Amendment, which

  embraces freedom of speech.”

        99.    The individual Plaintiffs and CWA have formed an association for the

  purpose of advancing and advocating shared views and ideas regarding public


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  employment, the role of labor unions in our economy and society and other policies

  affecting the public.

         A.    Section 1 of SB 256 Violates First and Fourteenth Amendment
               Rights of Freedom of Association.

         100. As described above, Section 1 of SB 256 requires the individual

  Plaintiffs’ to execute a membership authorization form as a condition of remaining

  a member of CWA. Conditioning an individual’s right to membership in a private

  association on the execution of a government-drafted and mandated form in the

  manner required by Section 1 is not a reasonable, let alone a narrowly tailored,

  means of advancing a compelling, substantial, or even legitimate, governmental

  interest.

         101. The individual Plaintiffs’ do not want to sign the state-mandated

  authorization form as a condition of remaining members of CWA. The individual

  Plaintiffs’ do not agree and object to the slogan “right to work” and to the general

  purpose of the mandated membership authorization form which they view as

  designed to discourage union membership.

         102. Section 1 infringes the freedom of association rights of CWA by

  depriving it of a core aspect of their institutional autonomy, namely, its autonomy

  over the membership admissions process. CWA’s current authorization form does

  not include the slogan “right to work.” That slogan is antithetical to the mission of

  CWA. Additionally, the current authorization form does not include the information
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  about salaries of the five highest paid employees of CWA which is juxtapose with

  membership dues. SB 256 already requires the disclosure of financial information.

  The state mandated membership authorization form is designed to discourage

  employees from associating with CWA by juxtaposing membership dues with the

  compensation of certain union employees/officers.

        103. Depriving voluntary private associations of their First Amendment

  right to self-determination over their membership admissions process in the manner

  required by Section 1 is not a reasonable – let alone a narrowly tailored – means of

  advancing a compelling, substantial, or even legitimate, governmental interest.

        104. Section 1 of SB 256, therefore, violates the Plaintiffs’ First Amendment

  right and/or Fourteenth Amendment substantive Due Process right to freely associate

  on mutual and voluntary terms for purposes of advocating and advancing shared

  beliefs and goals.

        B.     Section 3 of SB 256 Violates the Plaintiffs’ First and Fourteenth
               Amendment Rights of Freedom of Association.

        105. As described above in paragraphs 53 and 54 Section 3 of SB 256

  deprived the Plaintiffs of the benefit of payroll deduction of union dues. The County

  has implemented this provision and stopped payroll deductions of union dues.

        106. The elimination of payroll deduction of union dues targets CWA and

  Plaintiffs because of the nature of their association. Section 3 of SB 256 prohibits



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  Plaintiffs’ Employers from allowing Plaintiffs to authorize payroll deduction solely

  because of Plaintiffs membership in and association with CWA.

        107. The denial of the benefit of payroll deduction of union dues is

  retaliation because of the Plaintiffs’ associative activity with CWA.

        108. The prohibition of Union dues deduction discriminates against CWA

  and the Individual Plaintiffs on account of their union support.

        109. Not allowing the County to deduct Union dues for employees other first

  responders (i.e., exempted employees and Unions) is irrational and not related to a

  legitimate governmental interest. Indeed, discriminating against Unions and denying

  them the benefit of dues deduction conflicts with the State of Florida’s constitution

  which protects an employee’s right to join and support a union for purposes of

  collective bargaining.

        110. Accordingly, Section 3 of SB 256 violates the Plaintiffs’ First

  Amendment right and/or Fourteenth Amendment substantive Due Process right to

  freely associate on mutual and voluntary terms for purposes of advocating and

  advancing shared beliefs and goals without retaliation.

        C.     Section 4 of SB 256 Violates the Plaintiffs’ First and Fourteenth
               Amendment Rights of Freedom of Association.

        111. As described above in paragraphs 65 through 76, Section 4 of SB 256

  amended Fla. Stat. § 447-305 to impose burdensome and unnecessary requirements

  in order to maintain and renew certification. The “60 percent dues paying”
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  requirement, the “audited” financial reports by an independent certified public

  accountant and/or the verification of membership information required on the

  renewal application by a certified public accountant impose significant and

  substantial costs of CWA. The verification of membership information may not be

  a condition that CWA can satisfy.

        112. These requirements were imposed on              CWA and its membership

  because of the nature of their association and the activities undertaken by their

  association.

        113. As Senator Gruters observed, Section 4 of SB 256’s requirements for

  renewal of certification status were motivated by a desire to weaken and/or stamp

  out the Plaintiffs’ association.

        114. These requirements fail to advance any substantial or compelling

  governmental interest, are not narrowly tailored or reasonably related to any such

  interest, and substantially burden the Plaintiffs’ right to freely associate. Indeed, the

  provisions are designed to interfere with the Florida State Constitutional right of

  public employees to join and support labor unions for the purposes of collective

  bargaining.

        115. Accordingly, Section 4 of SB 256 violates the Plaintiffs’ First

  Amendment right and/or Fourteenth Amendment substantive Due Process right to




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  freely associate on mutual and voluntary terms for purposes of advocating and

  advancing shared beliefs and goals.

                                        COUNT II

                         (Section 1983 – Freedom of Speech)

        116. The Plaintiffs incorporate by reference paragraphs 38 through 52.

        117. The First Amendment to the United States Constitution provides that

  the government “shall make no law… abridging the freedom of speech.” U.S. Const.

  amend. I. The First Amendment prohibits the State of Florida from compelling the

  Plaintiffs’ to disseminate or promote a message that conflicts with their core mission.

  Forcing free and independent individuals to endorse ideas they find objectionable is

  always demeaning, and for this reason, the landmark free speech cases said that a

  law commanding “involuntary affirmation” of objected-to beliefs would require

  “even more immediate and urgent grounds” than a law demanding silence. Janus v.

  AFSCME, Council 31, 138 S. Ct. 2448, 2464 (2018).

        118. The State of Florida may not deny an organization or its members a

  benefit on a basis that infringes constitutionally protected interests--especially, the

  interest in free speech. Perry v. Sindermann, 408 U.S. 593 (1972). Though the

  government enjoys discretion on granting or denying a public benefit, it may not do

  so because of an organization or individual’s beliefs and views. “For if the

  government could deny a benefit to a person because of his constitutionally protected

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  speech or associations, his exercise of those freedoms would in effect be penalized

  and inhibited.” Rutan v. Republican Party, 497 U.S. 62, 86, 110 S. Ct. 2729, 2743

  (1990) (Justice Stevens concurrence)

          A.     Section 1 of SB 256 unconstitutionally compels use and/or
                 dissemination of the slogan “right to work” on the state’s mandated
                 membership authorization form.
          119.   Section 1 of SB 256 amended Fla. Stat. § 447.301 to require the

  individual Plaintiffs desired to be a member to execute a membership authorization

  form that includes the statement “The State of Florida is a right-to-work state.”

          120. The individual Plaintiffs view that slogan “right to work” as an anti-

  union slogan. The individual Plaintiffs oppose the concept of “right-to-work” and

  object to signing a membership form that includes this slogan in the mandatory

  notice section of the form.    CWA’s membership application (which the parties

  incorporated into the CBA) makes no reference to the “right to work.”

          121. The individual Plaintiffs do not want to be compelled to sign a form

  that contains the slogan “right-to-work” because they reasonably consider doing so

  as an acknowledgment or endorsement of the slogan.           Indeed, the individual

  Plaintiffs view the inclusion of the slogan “right-to-work” on a membership form

  for an organization that they are voluntarily joining as a proverbial “thumb in the

  eye.”




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        122. Section 1 of SB 256 compels           CWA to use the state-mandated

  membership authorization form. CWA does not desire to use a form that includes

  the slogan “right-to-work” as a mandatory disclosure. The slogan “right-to-work”

  is an anti-union slogan and antithetical to CWA’s mission.

        123. Refusal by CWA to use the state-mandated form would result in losing

  its certification as the bargaining representative of its members and unit employees.

  CWA’s mission includes representing members and unit employees with respect to

  matters affecting their employment. Thus, to continue its mission as a union, CWA

  is forced into using a form that contains the anti-union slogan “right-to-work.”

        124. Accordingly, Section 1 of SB 256 violates the Plaintiffs’ First

  Amendment right to not be compelled to disseminate or acknowledge a government

  mandated message that they oppose and is antithetical to their values and beliefs and

  to have this slogan included in the membership authorization form.

        B.     Section 3 of SB 256 violates the Plaintiffs First Amendment rights.

        125. Section 3 of SB 356 amended Fla. Stat. § 447.303 to prohibit employer

  Defendants from deducting and collecting union dues from the individual Plaintiffs’

  salaries even though the individual Plaintiffs’ have voluntarily authorized and

  requested that their employers provide such service.

        126. The State of Florida has withheld this service because the Plaintiffs’ are

  members of CWA and because CWA is a labor union. The State of Florida,


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  however, allows the individual Plaintiffs’ to authorize payroll deductions for other

  organizations as directed by the individual Plaintiffs.

         127. Section 3 of SB 256 distinguishes different speakers and deprives

  CWA and its member the same service or benefit available to other speakers and

  organizations on account of CWA’s beliefs, views and advocacy regarding matters

  affecting the employment of its members.

         128. The Governor of the State of Florida and the Senate sponsor of SB 256

  have expressed their opposition to labor unions and the labor movement in general.

         129. Accordingly, Section 3 of SB 256 violates the Plaintiffs’ First

  Amendment rights because they are being punished for their beliefs, views and

  advocacy on behalf of their public sector employees.

         C.        Section 4 of SB 256 violates Plaintiffs’ First Amendment rights
                   because it imposes burdensome and unnecessary requirements
                   designed to harm labor unions because of the beliefs and views they
                   advocate.

         130. Section 4 of SB 256 amended Fla. Stat. §447.305 to impose

  burdensome, costly and unnecessary requirements as a condition of retaining

  certification.

         131. Section 4 subjects CWA to immediate decertification if it fail to

  comply with any of the following new obligations: annually disclosing audited

  financial statements; annually disclosing accountant-certified figures showing the

  number of bargaining unit employees who are and are not dues-paying union
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  members; and undergoing an election to determine whether the it can continue to

  serve in its role as collective bargaining representative if its disclosures show that

  fewer than 60% of the employees it represents pay dues to the union.

        132. The requirement to retain an independent certified public account to

  audit financial records and reports and to verify membership information included

  on an application to renew registration was designed to in the words of Senator

  Gruter “kill unions” in the State of Florida.

        133. Section 4 targets CWA and its members because of the pro-union views

  and beliefs that they advocate. Section 4 aims to impose substantial and burdensome

  costs on CWA because it is a labor union.

        134.    Imposing substantial and burdensome costs on CWA in order to renew

  its certification harms the individual Plaintiffs because their voluntary dues are

  diverted to comply with these requirements and not used to advocate the beliefs and

  views of their union with respect to their employment with the defendant Employer.

        135. Accordingly, Section 4 of SB 256 violates the Plaintiffs’ First

  Amendment rights because they are being punished for their beliefs, views and

  advocacy on behalf of their public sector employees.

                                       COUNT III

                           (Section 1983 – Equal Protection)




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        136. As noted above, SB 256 exempts similarly situated public sectors

  unions from (i) amendments to Fla. Stat. §447.301 that mandates the use of a state

  created membership authorization form, (ii) amendments to Fla. Stat. § 447.303 that

  prohibit public employers from deducting and collecting union dues and (iii) from

  amendments that added § 447.305(3)-(8) which imposed new reporting requirements

  and the “60 percent dues paying” requirement.

        137. The differentiation between favored and disfavored unions does not

  advance any compelling, substantial, or even legitimate government interest and is

  not narrowly tailored or rationally related to advancing any such interest. It therefore

  fails any level equal protection scrutiny that may be applicable. The provisions of

  SB 256 challenged in paragraph 136 are inconsistent with the State of Florida’s

  Constitution and any interest in providing public employees with a right not to join

  or support a union is already protected in both the Florida Constitution and the CBA

  between the Union and the County.

        138. Accordingly, Sections 1, 3 and 4 of SB 256 violate the Plaintiffs’ Equal

  Protection guarantee because they are being punished for their beliefs, views and

  advocacy on behalf of their public sector employees.          And because they draw

  distinctions between favored and unfavored unions that does not advance any

  compelling, substantial or legitimate governmental interest.




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                                      COUNT IV

          (Section 1983 – Violation of Article I, Section 10’s Contract Clause)

          139.   Plaintiff CWA incorporates by reference paragraphs 18 through 28.

          140.   CWA has a valid, binding, active contract with the County containing

  numerous provisions that establish the wages, benefits, and other valuable terms and

  conditions of employment for the employees represented by the respective unions.

  The CBA does not expire until September 30, 2024 and is automatically renewed

  unless the party gives notice of an intent to seek modifications to the CBA.

          141. The collective bargaining agreements between CWA and the County

  includes an agreement for payroll deduction of membership dues. The CBA also

  specifies that membership application form and the dues checkoff authorization

  form.

          142. Section 1’s mandated membership form impairs the contract between

  CWA and the County because it conflicts with the agreed upon form incorporated

  into the CBA.

          143. Section 3’s ban on payroll deduction of membership dues impairs the

  contract between CWA and the County.

          144. CWA no longer receives deducted dues from the County and/or any

  other public employer in the State of Florida. As result of Section 3 of SB 256,

  CWA and its local affiliates in the State of Florida have suffered economic loss.


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        145. By conditioning the continuing enforceability of CWA’s CBAs on

  compliance with new and onerous conditions, Section 4 of SB 256 substantially

  impairs the contractual rights of CWA in violation of Article I, Section 10, Clause 1

  of the United States Constitution. The provision changes permissions of and

  obligations toward CWA unions and its members on which they have relied.

        146. The contract impairments effectuate by Sections 1, 3 and 4 of SB 256

  are not reasonable or necessary to advancing an important public purpose.

                               PRAYER FOR RELIEF

        The Plaintiffs respectfully request that the Court enter an order providing the

  following relief:

        (a) a declaration that Fla. Stat. § 447.301’s mandated membership

  authorization form violates the Plaintiff’s First and Fourteenth Amendments’ right

  to freely associate, their First Amendment right to engage in free and not compelled

  speech and their rights to due process and equal protection;

        (b)    a declaration that Fla. Stat. § 447.303 impairs the contractual rights of

  CWA in violation of Article I, Section 10, Clause 1 of the United States Constitution

  and also violates the Plaintiffs’ rights to freedom of speech and association under

  the First Amendment and to equal protection of the laws under the Fourteenth

  Amendment of the United States Constitution;


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        (c)    a declaration that Fla. Stat. § 447.305 impairs the contractual rights of

  CWA in violation of Article I, Section 10, Clause 1 of the United States Constitution

  and also violates the Plaintiffs’ rights to freedom of speech and association under

  the First Amendment and to equal protection of the laws under the Fourteenth

  Amendment of the United States Constitution;

        (d)    preliminary and permanent orders enjoining the PERC defendants, their

  successors, and all those acting in concert with them or at their direction from

  implementing or enforcing the provisions of SB 256 herein, or from enforcing PERA

  § 447.501(2)(b) where the action attempted by the employee organization,

  representative, agent or member of the employee organization is an attempt to

  request, persuade, or induce a public employer to provide payroll deduction of dues

  in favor of the employee organization under circumstances where a favored

  employee organization would be permitted to make such an attempt;

        (e) preliminary and permanent orders barring the County and all those acting

  in concert with it or at its direction, from invoking Section 3 as a defense in any

  forum, including without limitation in any grievance meeting or arbitration, as a

  basis for refusing to honor the dues-deduction provisions in its CBAs.

        (f)    An award of attorneys’ fees and costs to the Plaintiffs, pursuant to 42

  U.S.C. § 1988(b); and



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        (h)    such other and further relief as the court may find appropriate to remedy

  the violations of Plaintiffs’ constitutional rights.

                                                         /s/ Nicolas Stanojevich
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